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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF PENNSYLVANIA

COMMONWEALTH OF PENNSYLVANIA,
By MICHELLE A. HENRY, ATTORNEY
GENERAL,

Plaintiff, |
v.
FLUENT, LLC ; AMERICAN
PRIZE CENTER, LLC; DELIVER

TECHNOLOGY, LLC; REWARDZONE USA,
LLC; and SAMPLES & SAVINGS USA, LLC,

Defendants.

CONSENT PETITION
FOR FINAL DECREE

No. 2:22-cy-1551

Filed on Behalf of Plaintiff:

COMMONWEALTH OF
PENNSYLVANIA, MICHELLE A.
HENRY

ATTORNEY GENERAL

Counsel of Record for this Party:

Amy L. Schulman

Senior Deputy Attorney General
P.A. .D. No. 80888

1251 Waterfront Place
Mezzanine Level

Pittsburgh, PA 15222

(412) 565-3523
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF PENNSYLVANIA

~ COMMONWEALTH OF PENNSYLVANIA,
By MICHELLE A. HENRY, ATTORNEY
GENERAL,

Plaintiff, Docket No. 2:22-ev-1551
v.

FLUENT, LLC ; AMERICAN

PRIZE CENTER, LLC; DELIVER
TECHNOLOGY, LLC; REWARDZONE USA,
LLC; and SAMPLES & SAVINGS USA, LLC,

Defendants,

CONSENT PETITION FOR FINAL DECREE

AND NOW, comes the Commonwealth of Pennsylvania, by Attorney General Michelle
A. Henry (“Commonwealth” or “Plaintiff’), and submits this Consent Petition for Final Decree
(“Consent Petition”), the terms of which have been consented to by Fluent LLC , American Prize

Center, LLC, Deliver Technology, LLC, RewardZone USA, LLC and Samples & Savings USA,

LLC (“Defendants”).

JURISDICTION AND VENUE
WHEREAS, this Court has subject-matter jurisdiction pursuant to 28 U.S.C. §§ 1331,
1337(a), and 1355, as well as 15 U.S.C. 8§ 6103(a);
WHEREAS, this Court has supplemental jurisdiction over the remaining claims under 28
U.S.C, § 1367;
WHEREAS, venue is proper in this district pursuant to 15 ULS.C. § 6103(e) and 28

U.S.C, §§ 1391(b)(2) and 1395(a);
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PARTIES

WHEREAS, Plaintiffis the Commonwealth of Pennsylvania, Otfice of Attorney
General, with offices located at 1251 Waterfront Place, Mezzanine Level, Pittsburgh,
Pennsylvania 15222; and 15th Floor, Strawberry Square, Harrisburg, Pennsylvania 17120;

WHEREAS, Defendant Fluent, LLC is a Delaware limited lability company with a
principal place of business located at 300 Vesey Street, 9" Floor New York, New York 10282;

WHE REAS, Detendant American Prize Center, LLC is a New York limited liability
company with a principal place of business located at 300 Vesey Street, 9" Floor New York,
New York 10282 and is a subsidiary entity of Fluent. LLC;

WHEREAS, Defendant Deliver Technology, LLC is a Delaware limited liability
company with a principal place of business located at 300 Vesey Street, 9"" Floor New York,
New York 10282 and is a subsidiary entity of Mluent, LLC;

WHEREAS, Defendant RewardZone USA, LLC is a New York limited liability.
company with a principal place of business located at 300 Vesey Street, 9" Floor New York,
New York 10282 and is a subsidiary entity of Fluent, LLC;

WHEREAS, Defendant Samples & Savings USA, LLC is a Delaware limited liability
company with a principal place of business located at 300 Vesey Street, 9” Floor New York,
New York 10282 and is a subsidiary entity of Fluent, LLC,

BACKGROUND

WHEREAS, Defendants have engaged in trade and commerce in the Commonwealth of
Pennsylvania by obtaining and selling consumer data, including data from Pennsylvania

consumers, for purposes of lead generation;
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WHEREAS, on November 2, 2022, the Commonwealth filed the above-captioned
Complaint alleging Defendants, in connection with their lead generating practices, violated the
Unfair Trade Practices and Consumer Protection Law, 73 PS. § 201-1, et seg. (Consumer
Protection Law); the Telemarketer Registration Act, 73 PS. § 224), ef seq. (“TRA”); and the
Federal Trade Commission’s Trade Regulation Rule entitled the “Te/emarkefing Sales Rule”
(“TSR”), 16 C.FLR, Part 310, the allegations of which are incorporated herein by reference;

WHEREAS, amongst other relief, the Commonwealth’s Complaint sought to enjoin
Defendants from certain alleged acts and practices declared unlawful by the Consumer
Protection Law, the TRA and the TSR;

WHEREAS, the Commonwealth and Defendants have ayreed to the entry of this
Consent Petition by this Court without trial or adjudication of any issue of fact or law and
without any admission of wrongdoing;

WHEREAS, it is the position of the Defendants that the matters alleged in the Complaint
coticern practices that are historical in nature and compliant with the law; and

WHEREAS, Defendants desire to comply with the provisions of this Consent Petition
and have signed it with the intent that, upon approval of the Court, its terms shall constitute the
provisions of the Final Decree, Order or Judgment of the Court in the above-captioned matter
and shall be binding upon Defendants.

SETTLEMENT TERMS

NOW THEREFORE, Defendants agrees for themselves, their successors, assigns,
officers, partners, agents, representatives. employees, and all other persons acting on their behalf,
jointly or individually, directly or indirectly, or through any corporate or business device, as

follows:
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I. DEFINITIONS

“Clear and Conspicuous” or “Clearly and Conspicuously” means that a statement is

difficult to miss (i.e., easily noticeable) and easily understandable, including in all of the

following ways:

l.

{n any communication that is solely visual or solely audible, the statement
must be made through the same means through which the communication is
presented. In any communication made through both visual and audible
means, such as a television advertisement, the statement must be presented in
both the visual and audible portions of the communication even if the
representation requiring the statement is made in only one means,

A visual statement, by its size, contrast, location, the length of time it appears,
and other characteristics, must stand out from any accompanying text or other
visual elements so that it is easily noticed, read, and understood,

An audible statement, including by telephone or streaming video, must be
delivered in a volume, speed, and cadence sufficient for consumers to easily
hear and understand it.

In any communication using an interactive electronic medium, such as the
Internet or software, the statement must be “Unavoidable,” meaning that a
statement must be presented in such a manner that consumers will be exposed
to the statement in the course of communication without having to take
affirmative actions, such as scrolling down a page, clicking on a link to other
pages, activating a pop-up window, or entering a search term to view the

statement,
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5. The statement must use diction and syntax understandable to ordinary
consumers and must appear in each language in which the representation that
requires the statement appears.

6. The statement must comply with these requirements in each medium through
which it is received, including all electronic devices and face-to-face

~ communications.

7. The statement must not be contradicted or mitigated by, or inconsistent with,
anything else in the communication.

8. Ifa statement is necessary as a modification, explanation, or clarification of
other information with which it is presented, such that its omission could
mislead or deceive consumers, it must be presented in close proximity to the
information it modifies, explains, or clarifies in a manner so as to be readily
noticed or heard and understood.

“Consumer Data” means consumer’s personally identifiable information, including name,
address, date of birth, telephone number and email address of a consumer who is a
Pennsylvania resident,

“ Effective Date” means the date the United States District Court for the Western District of
Pennsylvania enters a Final Decree, Order or Judgment, approving the terms of the Consent

Petition.
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IY. INJUNCTION AND AFFIRMATIVE RELIEF

A. Advertising and Marketing Practices
{. Defendants shall comply with any and all provisions of the Consumer Protection
Law and any amendments thereto; and, is permanently enjoined from any

violation thereof.

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Defendants shall not in any way misrepresent to consumers an affiliation with any

product or service that Defendants do not have.

3, Defendants shall, when applicable, Clearly and Conspicuously disclose to
consumers that completion of advertised deals for products and services is
required to obtain Defendants’ Rewards or other promotional offers.

4. Defendants shall not engage in any misleading acts or practices in an effort to
obtain Consumer Data for purposes of Jead generation.

5. Defendants shall Clearly and Conspicuously disclose to consumers how, if they”

consent, their Consumer Data may be used or shared with third parties for

purposes of lead generation.

B. Telemarketing Related Practices

1. Defendants shall comply with any and all provisions of the TRA and any
amendments thereto, and is permanently enjoined from any violation thereof.

2. Defendants shall comply with any and all provisions of the Telemarketing Sales
Rule and any amendments thereto; and, is permanently enjoined from any
violation thereof,

3. When seeking Consumer Data, for purposes of sharing with, or sale to,

telemarketers, from consumers who have registered their phone numbers cither

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on the national “do-not-call” registry or the Pennsylvania “do not call” list,
Defendants shall obtain an “express agreement in writing” from consumers in

compliance with Section 310.4(b)(iii)(B)(1) of the TSR and shall:

a. obtain a written agreement clearly evidencing the consumer’s
authorization that calls made by or on behalf of a specific party or specific

parties may be placed to the consumer’s telephone number; and
b. obtain the consumer’s signature.

4, When seeking Consumer Data, for purposes of sharing with, or sale to,
telemarketers, from consumers who have registered their phone numbers either
on the national “do-not-call” registry or the Pennsylvania “do not call” list,
Defendants shall clearly and conspicuously disclose to consumers the
identification of the specific party or parties for whom consent is sought, without

requiring the use of a hyperlink or separate pop-up screen.

5. Defendants shal] Clearly and Conspicuously disclose to consumers that they are
not required to provide consent to receive telemarketing calls to be eligible to
receive or earn any promotional offer or benefit advertised to consumers by

Defendants.

Cc, Consumer Data Usage
1. Defendants shall not sell, transfer or share any Consumer Data for telemarketing
purposes, unless the Consumer Data was acquired in accordance with the

requirements set forth under Section 310.4(b)(iii)(B)(1) of the TSR (requirements
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for express agreement to receive telemarking calls for consumers on the “do-not-
call” registry).

2. In accordance with Section 310.4(b)(v)(A)(i)-(iv) of the TSR, Defendants shall
not sell, transfer or share any Consumer Data for purposes of delivering
telemarketing calls with prerecorded messages.

I. MONETARY RELIEF
A: Required Payment — Upon the signing of this Consent Petition, Defendants
shall pay to the Commonwealth the sum of TWO HUNDRED FIFTY THOUSAND
and 00/100 Dollars ($250,000.00), as costs of investigation, which shall be

deposited into an interest-bearing account from which both principal and interest and

shall be expended for public protection and educational purposes.

IV. MISCELLANEOUS TERMS

A. Nothing in this Consent Petition shall prevent or restrict its use by the
Commonwealth in any action against Defendants for contempt arising from their failure to
comply with any of its provisions, terms or conditions.

B. Nothing in this Consent Petition shall be construed to: (i) exonerate any contempt
or failure to comply with any of its provisions after the Effective Date; (ii) compromise or limit
the authority of the Commonwealth to initiate a proceeding for any contempt or other sanctions
for failure to comply; or (iit) compromise the authority of this Court to punish as contempt any
violation of this Consent Petition, Further, nothing in this Consent Petition shall be construed to
limit the authority of the Commonwealth to otherwise protect the interests of the Commonwealth

or the people of the Commonwealth of Pennsylvania.
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C, Daniel J. Barsky, as General Counsel of Fluent, LLC certifies that he is authorized
to enter into and execute this Consent Petition on behalf of Fluent, LLC .

Dz. Daniel J. Barsky, as General Counsel of American Prize Center, LLC certifies
that he is authorized to enter into and execute this Consent Petition on behalf of American Prize
Center, LLC.

E. Daniel J, Barsky, as General Counsel of Deliver Technology, LLC certifies that
he is authorized to enter into and execute this Consent Petition on behalf of Deliver Technology,
LLC.

F, Daniel J. Barsky, as General Counsel of RewardZone USA, LLC certifies that he
is authorized to enter into and execute this Consent Petition on behalf of RewardZone USA,
LLC.

G. Daniel J. Barsky, as General Counsel of Samples & Savings USA, LLC certifies
that he is authorized to enter into and execute this Consent Petition on behalf of Samples &
Savings USA, LLC,

H. Any failure of the Commonwealth to exercise any of its rights under this Consent
Petition shall not constitute a waiver of its rights hereunder.

I, Defendants agree to execute and deliver all authorizations, documents and
instruments which are necessary to carry out the terms and conditions of this Consent Petition,
whether required prior to, contemporaneous with or subsequent to the Effective Date, as defined
herein.

J. United States District Court in the Western District of Pennsylvania shall

maintain jurisdiction over the subject matter of this Consent Petition and over Defendants for the
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. purpose of enforcement of this Consent Petition and/or the Order or Final Decree approving its
terms,

K. This Consent Petition may be executed in any number of counterparts and by
different signatories on separate counterparts, each of which shall constitute an original
counterpart hereof and all of which together shall constitute one and the same document. One or
more counterparts of this Consent Petition may be delivered by facsimile or electronic
transmission with the intent that if or they shall constitute an original counterpart hereof.

L. Defendants understand and agree that if they made any false statement in or
related to this Consent Petition, that such statement is made pursuant 28 USC $1746.

M. The Commonwealth and Defendants hereby stipulate that the Final Decree, Order
or Judgment of Court to be issued pursuant to this Consent Petition shall act as a permanent
injunction issued under Section 201-4 of the Consumer Protection Law, 73 P.S. § 201-4, and,
that, subject to the specific terms and conditions stated in this Consent Petition, breach of any of
its terms or of the Final Decree, Order or Judgment accompanying it shall be sufficient cause for
the Commonwealth to seek penalties as provided under Sections 201-8, 201-9, and 201-9.1 of
the Consumer Protection Law, 73 PS. §§ 201-8, 201-9 and 201-9.1, or any other relief as the
Court shall determine appropriate,

N. This Consent Petition sets forth all of the promises, covenants, agreements,
conditions and understandings between the parties, and supersedes all prior and
contemporaneous agreements, understandings, inducements or conditions, express or implied.
There are no representations, arrangements, or understandings, oral or written, between the
parties relating to the subject matter of this Consent Petition that are not fully expressed herein or

attached hereto. Each party specifically warrants that this Consent Petition is executed without

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reliance upon any statement or representation by any other party hereto, except as expressly
stated herein.

O. The parties acknowledge and agree that this Consent Petition and all of its terms
are subject to and contingent upon the Consent Petition being approved by the United States
District Court in the Western District of Pennsylvania and entered as an Final Decree, Order or
Judgment.

P. Defendants shall not represent or imply that the Commonwealth acquiesces in, or
approves of, Defendants’ past or current business practices, efforts to improve their practices, or
any future practices that Detendants may adopt or consider adopting.

WHEREFORE, without trial or adjudication of the facts or law herein among the parties
to this Consent Petition and without any admission of wrongdoing, Defendants agree to this
Court’s signing and entry of a Final Decree, Order or Judgment, ordering that Defendants shall
be permanently enjoined from breaching any and all of the aforementioned provisions of Section
Il hereof,

{SIGNATURES ON THE FOLLOWING PAGES]

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WE HEREBY consent to the terms of this Consent Petition for Final Decree, evidenced
by our signatures set forth below, and submit the same to this Honorable Court for the making

and entry of a Final Decree, Order or Judgment of the Court.

FOR THE COMMONWEALTH: |

COMMONWEALTH OF PENNSYLVANIA
OFFICE OF ATTORNEY GENERAL

MICHELLE A, HENRY
ATTORNEY GENERAL

Date: 5 [| 0 | Ad By:

Amy L, Schulman
Senior Deputy Attorney General

Commonwealth of Pennsylvania
Office of Attorney General

1251 Waterfront Place
Mezzanine Level

Pittsburgh,. Pennsylvania 15222
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” TECHNOLOGY) LLC

FOR THE DEFENDANTS:

Daniel J. ae

General Counsel ‘ -

0 J. Barsky”
General Counsel

{ v

Daniel J, Barsky

* General Counsel

General Counsel

SA cS &§ GS USA, LLC

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One Federal Street

Boston, MA 02110-1726

Counsel for Defendants

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